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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON                     Civil Action No. 3:16-md-2738-
  TALCUM POWDER PRODUCTS                       FLW-LHG
  MARKETING, SALES
  PRACTICES, AND PRODUCTS                      MDL No. 2738
  LIABILITY LITIGATION


  This Document Relates to All Cases



    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
    FOR LEAVE TO AMEND PLAINTIFFS’ FIRST AMENDED MASTER
                   LONG FORM COMPLAINT


         Pursuant to Federal Rule of Civil Procedure 15(a)(2), Plaintiffs through the

 Plaintiffs’ Steering Committee (“PSC”) submit this Memorandum of Law in support

 of Plaintiffs’ Motion for Leave to Amend Plaintiffs’ First Amended Master Long

 Form Complaint and state as follows:

    I.      BACKGROUND

         After the creation of an MDL for this litigation, which was assigned to this

 Court by the Judicial Panel for Multidistrict Litigation, and the appointment of a

 Plaintiff’s Steering Committee (“PSC”), this case then proceeded to be litigated

 pursuant to a Master Complaint filed by the PSC. The PSC filed their Master Long

 Form Complaint against Defendants Johnson & Johnson ("J&J"), Johnson &
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 Johnson Consumer Inc. f/k/a Johnson & Johnson Consumer Companies, Inc. ("J&J

 Consumer"), Imerys Talc America, Inc., f/k/a Luzenac America, Inc., f/k/a Rio Tinto

 Minerals, Inc. ("Imerys Talc") and Personal Care Products Council ("PCPC")

 (collectively referred to as "Defendants") (Doc. No. 82) on January 5, 2017 pursuant

 to Case Management Order No. 1. The Master Complaint serves as the foundational

 pleading for the Short Form Complaints being filed by individual Plaintiffs whereby

 the individual Plaintiffs adopt counts of the Master Complaint that each Plaintiff

 believes is relevant to her case, thereby stating the claims the individual Plaintiff will

 be litigating in her case. See, CMO No. 2 (Doc. No. 102), CMO No. 2a (Doc. No.

 257) and CMO No. 3 (Doc. No. 148), relating to filings of Short Form Complaints.

       The Master Complaint was previously amended pursuant to a Stipulation and

 Pretrial Order Granting Plaintiffs Leave to File A First Amended Master Long Form

 Complaint and Modifying Deadlines Related to Responsive Pleadings Pursuant to

 Case Management Order (Doc. No. 131) on March 15, 2017. The First Amended

 Master Long Form Complaint was filed almost four (4) years ago. During this period

 of four (4) years, much has been learned about the facts of this case, that now should

 be included within a Master Complaint so that the thousands of Plaintiffs who are

 relying on the Master Complaint for their filing of their individual Short Form

 Complaints can litigate their individual cases to the fullest extent that the law and

 facts permit.

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       More particularly, by this Motion, the PSC, on behalf of all Plaintiffs, seek to

 amend the First Amended Long Form Master Complaint for the following reasons:

 1) to add additional factual allegations discovered that buttress the already existing

 claim in the case that Defendants engaged in Fraudulent Concealment; 2) to include

 a new claim for relief under a theory of spoliation that the facts and law support but

 which was not included as a claim for relief in the First Amended Master Long Form

 Complaint; and 3) to recite the newly identified constituents of talcum powder

 products that were learned during discovery and discussed by the PSC’s experts in

 their reports, depositions and during the Daubert proceedings that were not

 identified as constituents of baby powder in the First Amended Master Long Form

 Complaint.

       The proposed Second Amended Long Form Master Complaint for which this

 Motion seeks leave to file is attached hereto in both a “clean” version (Exhibit B to

 Plaintiffs’ Motion) and a “redlined” version (Exhibit C to Plaintiffs’ Motion) for the

 ease of the Court in identifying the changes desired to be made. The redline version

 identifies the new facts being pleaded for both the fraudulent concealment claim and

 the newly identified constituents, while also setting forth the facts and legal elements

 for the new claim for spoliation.

       Finally, the PSC proposes that there is no need for Plaintiffs who have already

 filed a Short Form Complaint to file an amended Short Form Complaint in order for

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 Plaintiffs to incorporate into their cases the new allegations relating to fraudulent

 concealment and the constituents in talcum powder products. Since the cause of

 action for fraudulent concealment already exists in the case, the new facts merely

 embellish the facts for the claim and for those Plaintiffs who have stated in their

 Short Form Complaints that fraudulent concealment is a claim they are asserting,

 there is no need to amend such a Short Form Complaint. Further, by filing Short

 Form Complaints, Plaintiffs are deemed to have incorporated the allegations

 contained in the Master Long Form Complaint.

       Similarly, the identification of new constituents need not require an

 amendment to an existing Short Form Complaint, and the facts relating to the new

 constituents should be incorporated without the need for further action by an existing

 Plaintiff with a Short Form Complaint on file.

       As to the new claim for spoliation, since that claim was not part of the First

 Amended Master Long Form Complaint, the PSC proposes that for any Plaintiff who

 now desires to add that claim to their case, that an amended Short Form Complaint

 will need to be filed (or some other indication filed on the record) to adopt and

 incorporate that cause of action into the pleadings of an individual Plaintiff’s case.

 Just as each individual Plaintiff identified which claims she was litigating by

 checking off same in the Short Form Complaint, such a check off is needed now for

 an individual Plaintiff to state that she is litigating a spoliation claim. The spoliation

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 claim was not available for check off prior to this proposed Second Amended Master

 Long Form Complaint. The addition of this completely new claim may require

 action by those Plaintiffs who wish to litigate that claim.

    II.      ARGUMENT

          Federal Rule of Civil Procedure 15(a)(2) provides that “a party may amend its

 pleadings only with the opposing party’s written consent or the court’s leave.” The

 Court should freely give leave when justice so requires.” The Third Circuit has noted

 that “[g]enerally, Rule 15 motions should be granted” and “the fundamental purpose

 of Rule 15 is to allow plaintiff ‘an opportunity to test his claims on the merits.’”

 United States ex rel. Customs Fraud Investigations, LLC. v. Victaulic Co., 839 F.3d

 242, 249 (3d Cir. 2016) (reversing a district court’s denial of leave to amend)

 (quoting Forman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L.Ed.2d 222 (1962).

 “This liberal amendment regime helps effectuate the ‘general policy embodied in

 the Federal Rules favoring resolution of cases on their merits.’” Mullin v. Balicki,

 875 F.3d 140, 149 (3d Cir. 2017) (quoting Island Creek Coal Co. v. Lake Shore, Inc.,

 832 F.2d 274, 279 (4th Cir. 1987).

          Under Rule 15’s liberal standards, courts in the Third Circuit have granted

 leave to amend pleadings absent “undue delay, bad faith or dilatory motive on the

 part of the movant, repeated failure to cure deficiencies in previous amendments,

 undue prejudice or futility of the amendment.” In re Caterpillar Inc., 67 F. Supp. 3d
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 663, 668 (D.N.J. 2014) (citing Forman, 371 U.S. at 182). None of these exist here

 as to give reason why the proposed amendment should not be permitted.

       The PSC merely seeks to amend the First Amended Master Long Form

 Complaint to conform the complaint with facts and allegations learned during the

 course of discovery, a reason which the Courts of the District of New Jersey have

 routinely found to warrant granting leave to amend pursuant to Rule 15. See, e.g.

 TransWeb, LLC v. 3M Innovative Properties Co., No. CIV.A. 10-4413 FSH, 2011

 WL 2181189, at *7 (D.N.J. June 1, 2011); See also Kronfeld v. First Jersey Nat'l

 Bank, 638 F.Supp. 1454, 1460 (D.N.J.1986).

       Relating to each of the reasons to be considered as to whether an amendment

 should or should not be permitted, it is clear that the PSC has not engaged in any

 “undue delay, bad faith, or dilatory motive” and further, this Motion is not being

 made in an attempt to cure a deficiency in a prior Complaint where it would be futile

 to permit the amendment. The existing First Amended Long Form Master Complaint

 has not been the subject of a Motion to Dismiss. If Defendants choose to test the

 adequacy and merits of this case, it should be done on the merits as framed by the

 actual facts that have been developed in discovery, and not on the basis of what is

 now a somewhat stale First Amended Long Form Master Complaint that was filed

 almost 4 years ago, prior to discovery.



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                  A. Amendment to Enhance the Fraudulent Concealment
                     Facts Alleged That Have Been Recently Learned in
                     Discovery

         As to the portion of the proposed Second Amended Long Form Master

 Complaint that addresses the existing fraudulent concealment count, what the PSC

 desires to do is to conform the pleadings to the evidence in the case. The claim

 already exists, but the allegations were developed prior to discovery. An amendment

 that merely conforms the pleadings to the facts well prior to the filing of a dispositive

 motion and during the ongoing discovery that the Court recently authorized after the

 Daubert hearings, hardly constitutes the PSC acting in bad faith, dilatorily, or in a

 manner to cause prejudice to Defendants See Kronfeld, 638 F. Supp. at 1460.

         The redlined version of the proposed Second Amended Long Form Master

 Complaint, attached hereto as Exhibit C to Plaintiff’s Motion, identifies the new

 facts to be added that are relevant to the existing fraudulent concealment claim in

 the case at Paragraphs 186 - 286. Clearly these newly learned facts are relevant to

 the fraudulent concealment claim and should be part of the master pleading in this

 case.

                  B. Amendment to State a Cause of Action and Count in
                     the Master Complaint for Spoliation Based on Newly
                     Discovered Evidence

         As to the portion of the proposed Second Amended Long Form Master

 Complaint that seeks to now plead a specific claim for spoliation, this will be a newly
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 asserted claim in the case and one that is important to those Plaintiffs whose states

 recognize an independent claim for spoliation to litigate. The absence of that claim

 in the existing First Amended Long Form Master Complaint may be a basis for

 argument by Defendants that Plaintiffs whose state law recognizes the claim

 nevertheless cannot litigate the claim because it was never pleaded in the First

 Amended Long Form Master Complaint and could not therefore be adopted by a

 Short Form Complaint.

       The PSC’s research has identified multiple states that specifically recognize

 an independent cause of action for spoliation. Generally, and for example, the law

 of such states provides that a claim for spoliation rests upon the following

 allegations: 1) a pending or impending legal action; 2) knowledge of the pending or

 potential legal action on the part of a party in control of evidence; 3) destruction of

 such evidence with a culpable state of mind designed to disrupt opposing party’s

 case; 4) disruption of such party’s case; and 5) damages proximately caused by the

 actions of the spoliator. See e.g., Rizzuto v. Davidson Ladders, Inc., 280 Conn. 225,

 905 A.2d 1165 (2006); Smith v. Howard Johnson Co., 1993-Ohio-229, 67 Ohio St.

 3d 28, 29, 615 N.E.2d 1037, 1038 (1993); Williams v. Werner Enterprises, Inc., 235

 W. Va. 32, 38–39, 770 S.E.2d 532, 538–39 (2015) (“The tort of intentional spoliation

 of evidence consists of the following elements: (1) a pending or potential civil action;

 (2) knowledge of the spoliator of the pending or potential civil action; (3) willful

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 destruction of evidence; (4) the spoliated evidence was vital to a party's ability to

 prevail in the pending or potential civil action; (5) the intent of the spoliator to defeat

 a party's ability to prevail in the pending or potential civil action; (6) the party's

 inability to prevail in the civil action; and (7) damages”); Coleman v. Eddy Potash,

 Inc., 120 N.M. 645, 905 P.2d 185, 189-91 (1995) (overruled on other grounds by

 Delgado v. Phelps Dodge Chino, Inc., 131 N.M. 272, 34 P.3d 1148, 1153-55 (2001);

 State v. Carpenter, 171 P.3d 41, 64 (Alaska 2007) (“Although this court has not laid

 out the exact elements of the spoliation tort, it is clear that a viable underlying cause

 of action must accompany a spoliation claim, that a plaintiff must show that the

 spoliation occurred “with the intent to disrupt [the plaintiff's] prospective civil

 action,” and that the spoliation must have prejudiced the prosecution of the action.”).

       The proposed Second Amended Long Form Master Complaint pleads facts

 that have been learned in discovery that supports these general elements of a

 spoliation claim to enable Plaintiffs whose state law recognizes the claim to adopt

 such a claim through their Short Form Complaints. As the Court knows, there are

 approximately 20,000 Plaintiffs in this litigation, from virtually all 50 states. The

 purpose of a Long Form Master Complaint is to identify and plead to the broadest

 extent possible all claims and causes of action that may exist under the law of any

 state, so that when an individual Plaintiff files a Short Form Complaint she is able

 to identify which claims apply under the law of their state and adopt same.

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        The newly learned facts show that a prima facie claim for spoliation seems to

  exist under the general principles for such a claim and therefore, the PSC is

  proposing that the Master Complaint be amended to bring such a claim to issue in

  this case. The redlined version of the proposed Second Amended Long Form Master

  Complaint, attached hereto as Exhibit C to Plaintiffs’ Motion identifies these new

  facts in Paragraphs 186 – 229 and in the Count for Spoliation at Paragraphs 493 -

  500. Clearly these newly learned facts and the spoliation claim are relevant and

  should be part of the master pleading in this case.

                   C. Amendment to State in the Master Complaint the
                      Newly Discovered Constituents of Johnson &
                      Johnson’s Talcum Powder Products

        Finally, as to the proposal that the amendment be permitted so that the facts

  alleged conform to evidence developed in the case about the constituents in

  Johnson’s talcum powder products, after Plaintiffs were afforded an opportunity to

  do discovery, including for the PSC’s experts to perform sample testing facilitating

  their ability to identify the constituents in Defendants’ products, the PSC learned

  additional information not plead in their original or First Amended Long Form

  Master Complaint. The discovery that has occurred now enables the PSC to know

  the constituents so that they can be identified in the Second Amended Long Form

  Master Complaint and to conform the facts of the case with the pleadings. Permitting

  this portion of the amendment does not prejudice Defendants and in fact, is more in
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  the nature of a house cleaning action than anything else. See Kronfeld, 638 F. Supp.

  at 1460.

        The redlined version of the proposed Second Amended Long Form Master

  Complaint, attached hereto as Exhibit C to Plaintiffs’ Motion, identifies the new

  facts to be added that that describe the newly learned constituents in the baby powder

  at Paragraphs 51 – 79 and 139 – 185. Clearly these newly learned facts are relevant

  to the case and should be part of the master pleading in this case.

     III.    CONCLUSION

        For these reasons, the Court should grant Plaintiffs’ Motion for Leave to

  Amend Plaintiffs’ First Amended Master Long Form Complaint.

  Dated:       December 22, 2020         Respectfully submitted,

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